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AQ 245B (Rev, 09/19) Judgment in a Criminal Case (form modified within District on Sept. 30, 2019}
Sheet |

UNITED STATES DISTRICT COURT

Southern District of New York

 

 

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
Stalin Santana Perdomo Case Number: 1:20-cr-00434-VEC-1
USM Number: 76451-054
} Amy Gallicchio
} Defendant’s Attorney
THE DEFENDANT:
M pleaded guilty to count(s) 4
["] pleaded nolo contendere to count(s)
which was accepted by the court.
C"] was found guiity on count(s}
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
8 U.S.C. § 1326(a) and illegal Reentry 7/13/2020 1
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984,
{| The defendant has been found not guilty on count(s)
i] Count(s) C) is Care dismissed on the motion of the United States.

 

_, Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances,

10/27/2020

 

Date of Imposition of Judgment

Signature of Judge y

Hon. Valerie Caproni, U.S.D.J.

 

Name and Titie of Judge

 

 

 

Date
Case 1:20-cr-00434-VEC Document 19 Filed 10/27/20 Page 2 of 5

AQ 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 5
DEFENDANT: | Stalin Santana Perdomo
CASE NUMBER: | 1:20-cr-00434-VEC-1

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

Time-served.

[1 The court makes the following recommendations to the Bureau of Prisons:

 

{] The defendant is remanded to the custody of the United States Marshal.

(Ci The defendant shall surrender to the United States Marshal for this district:

Lj at Mam OU pm. on

 

LJ as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[] before 2 p.m. on

 

[1 as notified by the United States Marshal.

{_] as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment,
UNITED STATES MARSHAL
By
DEPUTY UNITED STATES MARSHAL

 
Case 1:20-cr-00434-VEC Document 19 Filed 10/27/20 Page 3 of 5

AO 245B (Rey. 09/19) Judgment in a Criminal Case
Sheet 3 —- Supervised Reiease

Jadgment-—Page 3 of 5
DEFENDANT: Stalin Santana Perdomo
CASE NUMBER:  1:20-cr-00434-VEC-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

None.

MANDATORY CONDITIONS

—

You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

[J The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, (1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable}
5, (1 You must cooperate in the collection of DNA as directed by the probation officer, (cheek ifapplicable)
C You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C, § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted ofa qualifying offense. (check if applicable)
7, C) You must participate in an approved program for domestic violence. (check if applicable}

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

 
AO 2450 (Rev. 09/19) vader e BOO EE 00434-VEC Document 19 Filed 10/27/20 Page 4of5

Sheet 5 — Criminal Monetary Penalties

Judgment -—- Page 4 of 5
DEFENDANT: Stalin Santana Perdomo
CASE NUMBER, 1:20-cr-00434-VEC-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

 

Assessment Restitution Fine AVAA Assessment* JIVTA Assessment**
TOTALS $ 100.00 $ $ $ $
(] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.

[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

 

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

{1 Restitution amount ordered pursuant to plea agreement $

{] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C, § 3612(f), All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C, § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[i the interest requirement is waived forthe [] fine [J restitution.

(1 the interest requirement forthe [] fine ([) restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub, L. No, 114-22. ; ;

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

 
Sheet 6 — Schedule of Payments

Judgment — Page 5 of 5
DEFENDANT: Stalin Santana Perdomo
CASE NUMBER: 1:20-cr-00434-VEC-1

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A Lump sum payment of $ 100.00. due immediately, balance due

[_] not later than __ ,or
[1] inaccordance with Q C, © D, [ E,or CL] F below; or

 

B [Payment to begin immediately (may be combined with (CIC, [1B, or ©) F below); or
C ©) Paymentinequal _ fag. weekly, monthly, quarterly) installmentsof $ over a period of
_ __ e.g. months or years}, to commence __ fe.g., 30 or 60 days) after the date of this judgment, or
D [Payment in equal (e.g., weekly, monthly, quarterly} installments of $ over a period of
(2.g., months or years), to commence (e.g. 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [[] Payment during the term of supervised release will commence within (e.g, 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (© Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during

the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1 Joint and Several

Case Number . .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

[The defendant shall pay the cost of prosecution.

0

The defendant shall pay the following court cost(s):

C] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, @) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7} community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.

 

 

 

 
